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UNITED STATES DISTRICT COURT F"~ED M-- D'c"
WESTERN DISTRICT oF Tz¢:NNESSg?;aj,UL 26 A,, ,,, ,,h
WESTERN DIVISIoN
M)MAS M. G`OU.D
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W;D C"-“' F‘F§MH'IZS
MABELEAN CARSON JUDGMENT IN A CIVIL CASE
ST. FRANCIS HOSPITAL CASE NO= 04-228'7-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
Granting Joint Motion To Dismiss And Referring Cla:i.ms To Binding
Arbitration entered on April 6, 2005, this cause is hereby
dismissed.

  
 

THOMAS M. GOULD
Cle of Court

 

   

 

(By DePhty Clerk

Ttt?s document entered on the docket sheet In compfiance
with Ht.r!e 53 and/or 79(3) FRCP on f“/'O

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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
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Honorable Bernice Donald
US DISTRICT COURT

